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                                                    #:340


                  1 SETH E. PIERCE (SBN 186576)
                      sep@msk.com
                  2 BRADLEY J. MULLINS (SBN 274219)
                      bym@msk.com
                  3 REBECCA BENYAMIN (SBN 334130)
                      rebecca.benyamin@msk.com
                  4 MITCHELL SILBERBERG & KNUPP LLP
                    2049 Century Park East, 18th Floor
                  5 Los Angeles, CA 90067-3120
                    Telephone: (310) 312-2000
                  6 Facsimile: (310) 312-3100
                  7 Attorneys for Defendant
                    Fabletics, Inc.
                  8
                  9                      UNITED STATES DISTRICT COURT
                 10                     CENTRAL DISTRICT OF CALIFORNIA
                 11                              WESTERN DIVISION
                 12 DENNIS BATEMAN, CHRISTIAN                 CASE NO. 2:25-cv-02200 SVW (AJRx)
                    BURES, MEGAN CARTER, JOHN
                 13 FORGAS, LANCE GOBLE, DANIEL               [PROPOSED] ORDER GRANTING
                    GOLEZ, ELIZABETH GOSEIN-                  DEFENDANT FABLETICS, INC.’S
                 14 VASQUEZ, THOMAS HAMILTON,                 NOTICE OF MOTION AND
                    KELLI LANGTON, JESSICA SIAS,              MOTION TO COMPEL
                 15 and MAX REINISCH, individually and        ARBITRATION
                    on behalf of all others similarly
                 16 situated;,
                 17             Plaintiffs,
                 18       v.
                 19 FABLETICS, INC.,
                 20             Defendant.
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    Mitchell     28
  Silberberg &
   Knupp LLP
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                          [PROPOSED] ORDER GRANTING FABLETICS’ MOTION TO COMPEL ARBITRATION
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                  1         On May 19, 2025, Defendant Fabletics, Inc. (“Fabletics”) filed a Motion to
                  2 Compel Arbitration pursuant to the Federal Arbitration Act, 9 U.S.C. § 1, et seq.,
                  3 and, alternatively, the California Arbitration Act, California Code of Civil
                  4 Procedure § 1280, et seq., or the Florida Arbitration Code, ch. 682, Fla. Stat.
                  5 (2003), as applicable, for an order compelling the individual arbitration of all of
                  6 Plaintiffs’ claims against Fabletics. Additionally, Fabletics seeks an order
                  7 dismissing Plaintiffs’ class allegations, and staying the remainder of this lawsuit.
                  8         The Court, having considered Fabletics’ Motion, hereby GRANTS the
                  9 Motion and ORDERS as follows:
                 10         1.     This action shall go to binding arbitration pursuant to the Federal
                 11 Arbitration Act, 9 U.S.C. § 1, et seq.;
                 12         2.     Plaintiffs’ class allegations are dismissed; and
                 13         3.     The remainder of the action is stayed pending completion of the
                 14 arbitration.
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                 16         IT IS SO ORDERED.
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                 18 Dated:                                    ___________________________________
                 19                                           The Honorable Stephen V. Wilson
                                                              United States District Court Judge
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   Knupp LLP
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                           [PROPOSED] ORDER GRANTING FABLETICS’ MOTION TO COMPEL ARBITRATION
